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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF ARIZONA
Carole Cubitto,                                 No. 2:15-cv-00438-SRB
                                 Plaintiff,     ORDER GRANTING
                                                STIPULATION FOR DISMISSAL
       vs.                                      WITH PREJUDICE
Life Insurance Company of North
America; Banner Health; Banner Health
Disability Plan,
                               Defendant.


       This matter comes before this Court on the parties’ stipulation to dismiss with
prejudice. As there is good cause,
       IT IS ORDERED dismissing this lawsuit with prejudice, each party to bear its own
attorneys’ fees and costs.

       Dated this 6th day of October, 2015.
